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  8                         UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11   JOSEPHINE VILLASENOR,                   Case No. 2:25-cv-01466-SB-JPR
 12                 Plaintiff,                [PROPOSED] ORDER REMANDING
                                              CASE TO STATE COURT
 13        v.
                                              Assigned to Hon. Stanley Blumenfeld, Jr.
 14   AMAZON.COM SERVICES LLC;
      AMAZON.COM, INC.;
 15   DOES 1-10
 16                 Defendants.
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                                                        ORDER REMANDING CASE TO STATE
                                                                               COURT
Case 2:25-cv-01466-SB-JPR     Document 12-1     Filed 02/26/25   Page 2 of 2 Page ID
                                     #:136


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            Upon stipulation of the parties, and good cause appearing, it is hereby
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      ORDERED that this action shall be REMANDED to the Los Angeles County
  3
      Superior Court in which it was originally filed. The Clerk of this Court is
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      ORDERED to issue the remand letter to the Clerk of the Superior Court forthwith.
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  7   Dated: ________________
  8                                           Hon. Stanley Blumenfeld, Jr.
                                              U.S. District Judge
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                                                           ORDER REMANDING CASE TO STATE
                                              -1-                                 COURT
